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          EXHIBIT A
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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO
                                   SOUTHERN DIVISION

 PLANNED PARENTHOOD GREAT
 NORTHWEST, HAWAII, ALASKA, INDIANA,
 KENTUCKY, on behalf of itself, its staff, physicians
 and patients, CAITLIN GUSTAFSON, M.D., on
 behalf of herself and her patients, and DARIN L.
 WEYHRICH, M.D., on behalf of himself and his
 patients,
                Plaintiffs,                                  Case No. 1:23-cv-00142-BLW
         v.

 RAÚL LABRADOR, in his official capacity as
 Attorney General of the State of Idaho; MEMBERS
 OF THE IDAHO STATE BOARD OF MEDICINE
 and IDAHO STATE BOARD OF NURSING, in their
 official capacities, COUNTY PROSECUTING
 ATTORNEYS, in their official capacities,

               Defendants.
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                         DECLARATION OF RACHEL E. CRAFT, ESQ.

          I, Rachel E. Craft, Esq., hereby declare as follows:

          1.     I am over the age of eighteen. I make this declaration based on personal knowledge

of the matters stated herein. If called to do so, I am competent to testify as to the matters contained

herein.

          2.     I represent Plaintiffs in the above-captioned action. I am an attorney admitted to

practice in New York and Massachusetts. I was granted Pro Hac Vice Admission on April 6, 2023,

to represent the plaintiffs in this case.

          3.     As of the filing of this brief, Plaintiffs have accomplished personal service of

process or service has been waived from Attorney General Labrador, the Members of the Boards

of Medicine and Nursing, and 43 of 44 County Prosecuting Attorneys. 1

          4.     One County Prosecuting Attorney has not yet received personal service of process,

Mike Duke of Payette County, and we expect him to be served within the next day.

          5.     In addition to such service, on April 6 and 7 Plaintiffs also contacted each County

Prosecuting Attorney via email, fax, and/or telephone, based on each official’s publicly available

contact information to provide notice of the complaint, summons, motion for temporary restraining

order and preliminary injunction, and the April 7 status conference.




1
  One County Prosecuting Attorney, Justin Oleson of Custer County, has told Plaintiffs’ counsel
that he intends to waive service but has yet to return a waiver of service form.
                                                       1
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Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct.

       Executed on April   J.E 2023 in /Vet.<.) ?}M        , (\) j


                                                     Rachel E. Craft, Esq.
